Case 09-13038-KG Doc 1 Filed 09/01/09 Page 1 of 16

B l (()t`t'icial Form l) (1/08)
United States Bankruptcy Court

District of Delaware

 

 

 

 

 

 

 

 

§
blame of Debtor if individual, enter Last, First, Micldle): Namc ofloint Debtor (Spouse) (Last, First, Middle),
Cynargy Da , LL
All Other Names used by the Debtor in the last 8 years All Other Names used by the Joint chtor in the last 8 years
(include married. malden, and trade names)', (includc manicd, maidcn, and trade nzmes);
Lasr four digits of Soc. Sec. or lndvldual"raxpayer I'D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or lndvldual~"l"axpayer I.D. (ITIN) NojComplele EIN
f or th , state all): (il" more than onc, state all):
§é'lr§o§%lli
Street Addrcss ol'chtor (No. and Stre‘et1 City, and State): ` Strcet Addrcss ot`Joint Dcl)tor CNO. and Street, City, and State);
30»30 47th Avanue, gm Floor
Long island ciry, NY
l-Z-IP CODE :l :l 16 l l E,IP CCDE l

only of Rei}$nce or of the Principal Placr: ol`Business; Coimty ofResidence or oftl\e Principal Placc of Business:

UGGHB,
Mailing Address of`Del)tor (if different from street address): Mailing Address oi`Joint Debtor (if different from street address):

 

EIP CODE l EIP CODE l

Location of Pn`ncipal Assets of Business Debtr)r (if different from street address above);
E.IP CODE l

 

 

 

 

 

 

 

Type of Dehtor Nature of Buslncsa Chz\ptcr of Baukruptcy Code l.lnder erlch
(Form of Organization) (Check one box.) the Petition is l"'iled (Chcck one box.)
(Cl\eck one box.)
D Hcalth Care Businr:ss l:l Cl\apter 7 I:] Chaptcr 15 Petition for
m individual (includes lomt Debtots) [:l Singlc Asset Real Estate as defined in m Cliaptcr 9 Recognitiori ofa Fowign
See Exhil)r! D on page 2 ofthlsform. l l U,S.C. § lOl(§lB) g Chaptcr ll Main Procecding
51 Corporation lincludcs LLC and LLP) l:l Railroad [:l Cl\aptcr 12 m Chapter l5 Petitlon for
I:} Partnership l:l Sloekbrokcr [:l Cl\apt¢r 13 Rcoognition of a Foreign
[;] Otlier (lf debtor is not one of the above entities l:] C<>mmodity Broker Nonmoin Procecding
check this box and state type olentity belowt) § Clearing Bank
r{é¥;er Nature of Debtr
me ant services correct one wm
Tnx-Exempt Entity
(Chcck box, ifapplicable.) l:] Debl:z are primarily consumer § chts are primarily
debts, defined in l l U.S.C. business debts
[:l Del)tor is a tax»<:xcmpt organization § 101(8) as “incurred by an
under Titlc 26 ofttre United Statcs individual primarily t"or a
Code (thc lntemal Rcvenue Code). personal, family, or house*
hold pmposc,"
Fillng Fee (Check one bax.) Chaptcr ll I)ebtors
Checlr one boats
[Z Full l~`iling Fce attached [,:] Debtor is a small business debtor as defined iri l l U.S,C. § lOl(SlD)

13 Filmg Fce to be paid in installments (applicablc to individuals only), Must attach H Debtor is not a small business dcbtoras defined in ll U,S.Ct § lOl(SID),
signed application for the courts consideration certifying that the debtor is
unable to pay fec except in installments Rulc lGOé(b). See Ott'tcial Fotm BA. Check if:

l:l Debtor`s aggregate noncontingcnt liquidated debts (cxclucling dcth owed to

l:l Filing Fr:e waiver requested (applicable lo chapter 7 individuals only)» Must insiders or afl'tliates) arc less than 52,190,000.
attach Slgned application for thc court’s consideration Scc Ol"f'icial Forrn le?»4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

Chock all applicable boxcar
A plan is being filed with this petition

[:] Acccptances of the plan were solicited prepetition from one or more classes
of ercdttors, in accordance with ll UAS.C. § ll26(b),

 

 

 

 

 

 

 

 

StatisticnUAdministrative Inlormation THlS SPACE is FOR
COURT use 0Nt,Y
[Z chtor estimates that Funds will be available for distribution to unsecured creditors
l:] Debtor estimates that, after any exempt property“is excluded and administrative expenscs paid, there will be no funds available for
distribution to unsecured creditors
Estimated Number of Credilors
Cl iii l:l l:l l:l l:l l:l
1»49 50199 lOt>- l 99 200-999 1,000' 5,00l - l0,00 l ~ 25,001" 50,001~ Over
5,000 IG,OOG 25,000 50,000 l 00,000 300,000
Estimatcd Asscts
|:l Cl [J [:l l:l l:l
50 to SS0,0tll to $lG0,00l to 5500,001 $l,OOO,ClOl 5 I0,0G0,00l SS0,000,00\ 5100,000,00\ $500,000,00! More than
350,000 $lOO,GOO 5500,000 to $l to SlO to $50 to 5 100 to 5500 to Sl billion Sl billion
million million million million million
Estimated Liabilities
Cl [] [Il l:l l:l
5010 550,001 to $tG0.00l to $500,001 31,000,00\ $l0,000,0t)l $5(),000,001 5100,000,001 $500,000,00| More than
550,000 , $lOG,OOO 3500,000 to $l to 310 to 550 to 5100 to 3500 to $l billion $l billion
million million million million million

 

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B l (Ott'\cial Forrn l) (1/08) , Page 2
Voluntory Petltion amc ofDe o s)t
(This page must be completed and Fled l)r every case.) %yl'lel'gy tBBr&a, LLC
All Prior Bankruptcy Cases Flled Within Last 8 Years (lf more than two, attach additional sheet.)
Locatior\ Case blumch Date Filcd:
Where Filed;
Location Case Number. Datc Filed;
Where Filed:
I'encllng Bsnkruptcy Csse Filed br amy Spouse, Partncr, or Affiliate of this Debtor {lf more than one, attach additional sheet.)
Name of Debtcr; Case Number. Date Filed:
Seo Schedule 1
D' t ` t: ' ` : :
ls rtc District cf Delaware Relationship Judgc
Exhlbit A Exhibit B
(To be completed if debtor is an individual
(To be completed il` debtor is required to file periodic reports (e,g., forms lOK and whose debts are primarily consumerdebts.)
lGQ) with the Sccurities and Exchange Commission pursuant to Seetion t3 or lS(d)
of thc Securities Exchange Act ot' 1934 and is requesting relief under chapter l l.) I, the attorney for the petitioner named in the foregoing pctition, declare that l

have infom\ed the petitioner that [he or she] may proceed under chapter 7, l l,
l2, or l3 of title l l, United Statcs Code, and have explained the relief
available under each such chapter l further certify that l have delivered to the
debtor the notice required by l l UrStC. § 342(b).

m Exhibit A is attached and made a part of this petition X

 

Signature of Attorney for Debtor{s) (Datc)

 

 

Exhtblt C
Docs the debtor own or have possession of any property that poocs or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

[:l Yes, and Exhil)it C is attached and made a part of this petition

m No,

 

E!thibit D
(To be completed by every individual debtcr. lt` a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
l:] Exhibit D completed and signed by the debtor is attached and made a part of this petition
lfthis is ajoint pctltion:

I:l Exhibit D also completed and Signed by the joint debtor is attached and made a part of this petition

 

Information Regarding the Debtor - Vcnue
(Chcck any applicable box.)
m Debtor has been domiciled or has had a residence principal place ot` business, or principal assets in this District for lSO days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District

f:] There is a bankruptcy case concerning debtor‘s affiliatey general partncr, or partnership pending in this District.
l:] Debtor is a debtor in a foreign proceeding and has its principal place ol` business or principal assets iri the United Stzttcs in this District, or

has no principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court] in
this Districl, or the interests ofthc parties will be served in regard to the relief sought in this District

 

Certt!lcution by a Debtor Who Re.sides as a Tcnaot of Resideotial Pmperty
(Check all applicable boxes.)

l:l Landlnrcl has a judgment against the debtor for possession ot`debtor's residence (lf box checked, complete the followingt)

 

(Namc ot` landlord that obtained judgment)

 

 

(Address oflandlord)
l:] Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetaryl default that gave rise to the judgment for , ’ m after thej' ’g for -r ` -n was entered, and
[:] Debtor has included with this petition the deposit with the court of any rent that would become due during the 30»clay period atter the

filing of the petition

[:] Dehtor certifies that he/she has served the Landlord with this certification ( l l U.S.C, § 362(l)).

 

 

 

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o i romero Form) 1 (1;03)

Page 3

 

Vo|untary Petltion
(This page must be completed and filed in every case.)

blame ot' Debtor(s):

Cynergy Datal LLC

 

Sigoatures

 

Signature(s) of Debtor(s) (lnd'rvtduall.}oint)

l declare under penalty of perjury that the information provided in this petition is true
and correct

(lf petitioner is an individual whose debts are primarily consumer debts and has
chosen to Ftle under chapter 71 l am aware that l may proceed under chapter 7, l l, 12
or 13 of title ll, Unitcd States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

[ll` no attorney represents me and no bankruptcy petition preparer signs the petition] l
have obtained and read the notice required by ll U.S.C. §342(b),

l request relief in accordance with the chapter of title ll, Unitcd States Code,
specified in this petition

X

 

Signature ol`chtor

 

Signature ofloint Debtor

 

Telcphone Numbcr (if not represented by attorney)

fled /"\

 

Signature of a Foreign Representuttve

l declare under penalty of perjury that the information provided in this petition is true
and correct, that l am the foreign representative of a debtor in a foreign proceeding
and that l am authorized to tile this petition

(Check only one box.)

[j l request relief in accordance with chapter l5 of title l l, United Statcs Codee
Certit'ted copies of the documents required by l l U,S.C. § l5l5 are attached

m Pursuant to ll U.S.C. § l5l l,l request reliefin accordance with the
chapter of title ll specified in this petition A certified copy ofthe
order granting recognition of the foreign main proceeding is attached

 

(Signature ofForeign Represeotativc)

 

(Printed Name of Forcign Represeotativc)

 

Date

 

nomey"'

 

X dozen

Sr nature ofAtiome for Debtot(s)
jane B. onion

Printed Name ofAttomey for Debtor(s)
Pegp§_r Hgmt@n LLP

F‘"“ Na"hercuiee Ptaza, sulie 5100, 1313 trath st
notes P.o. sex 1709, wilmington oz 19399~1709

 

 

'TTTNKSEE

Telephone Number

 

Dote

*ln a case in which § 707(h)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect

 

 

Signaturc of Debtor (Corporation/Partuership)

l declare under penalty of perjury that the information provided in this petition is true
and correct, and that l have been authorized to lite this petition on behalf ot` the
debtor.

The debtor reduce the relief in accordance with the chapter of title l l. United States
Code. specific hi ' `

   

 

’vidual
OBY

procedure
'l`itlc ofA t rizcd d'v`dual
§?°iz §)`d,‘z"

Da!c

 

Signature of Non~Attorney Bankruptcy Petition Preparer

l declare under penalty of perjury that; (l)l am a bankruptcy petition preparer as
defined in l l U.S.Cl § llO; (2)! prepared this document for compensation and have
provided the debtor with a copy oi` this document and the notices and information
required under ll U,S,C, §§ l lO(b), l l0(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to l l U.S`C. § l lO(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, l have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section OFficial Form 19 is
attached

 

Printed Name and titlc, if any, ofBanicruptcy Petition Preparer

 

Social-Security number (lf the bankruptcy petition preparer is not an individual ,
state the Social~Socurity number of the otl'icer, principal, responsible person or
partner ot" the bankruptcy petition preparer.) (Requircd by ll U,S.C, § l lO.)

 

Address

 

 

 

Date

Signa.ture of bankruptcy petition preparer or ottleer, principal, responsible pcrson, or
partner whose Social~Security number is provided above

Names and Social-Sccurity numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual

lt' more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person

A bankruptcy petition preparer 'r failure 10 comply with the provisions af title ll and
the Federa/ /€ule.v of Bankrupicy Procedure may result in j?nes or imprisonment or
both. /! U,S,C. § IIU.' 18 U.SC. § 156,

 

 

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B !f\ (Officia| Form l, Exhibi! A) (9/97)

l deth i re r` d l ‘a"c ts . ., lOK d]() ith th S 'ties ndEx han Commission rsua tro
ctg' n 17 igr iga/aig §e€;,)"li(t)ie{r §§€grn §§c!)gi 7153_4 a grid req%;;;]ing reeliej;l)‘t§er chaapler f l 0/$ e Bankrup£cyp ode, z is
hr rt A s a ecompletedandattac e lorhe petrrzon.

/ UNITED STATES BANKRUPTCY COURT

District of Delaware

ln re Cynergy Data» LLC Case No.

Debtor

Chapter l l

EXHIBI'I` “A” TO VOLUNTARY PETITION
l. If any of the debtor’s securities are registered under Section 12 of the Securities Excha;nge Act of 1934, the
SEC tile number is

2. The fo!lowing financial data is the latest available information and refers to the debtor’s condition on

_J.uu§.§&.£$?£&_.._____.

 

ar Tota! assets $ 109 548 132.00
b. Tetal debts (including debts listed in 2.c., below) $ ,,_M
c. Debt securities held by more than 500 holders: Al;\)groxima e

ho Y;s(:)

secured unsecured ij subordinated CJ

 

secured unsecured CJ subordinated D

 

 

0
CJ

secured CJ unsecured Cl subordinated C'J
0

secured unsecured CJ subordinated [J

 

WMVJM(£

secured 0 unsecured 13 subordinated CJ

 

d. Number of shares of preferred stock

 

e. Number of shares common stock

 

Comrnents. ifanv:

 

3. Brief descrintion of debtor’s business:
Credtt mm processing servicee.

4. List the names of any person who directly or indirectly owns, controls, or holds, with power to votc. 5% or

more ofthe voting Securities of debtor: .
Marce|o Patadini owns 92% of Cynergy Data Ho|dings, lnc., which owns 100% of Cynergy Data, LLC,

 

 

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M§<.illl£_l

Pending Bankruptcy Cases Filed by any Spouse§ Partner, or Aft`lliate of This Debtor

 

 

 

Name of Case Date Filed l)istrict Relationship Judge
Debtor Number
Cynergy Delaware Debtor owns
Prosperity 10()% of
Plus, LLC
Delaware Owns 100%

Cynergy Data
Holdings, Inc.

 

 

 

 

Of Debtor

 

 

#11435671 Vl
NP: 12684943.1

 

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DECLARATION UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORATION OR PARTNERSHIP

I, Charles M. Moore, the Chief Restructuring Officer of the entities named as the debtors
in this case, declare under penalty of perjury that I have read the foregoing consolidated list and
that it is true and correct to the best of my information and belief.

Date g/gz/j? Signature WM M..,

Name: Charles M. Moore
Title: Chief Restructuring Officer

Penallyfor making afalse statement or concealing proper!y: F inc of up to $500,000 or

imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

l267945842

134 (Official Form 4) (12/07)

United States Bankruptcy Court

District of Delawarc

in re Cynergy Data, LLC, et al

 

Debtor(s)

Case 09-13038-KG Doc 1 Filed 09/01/09 Page 7 of 16

Case No. 09-

 

Chapter 1 1

 

CONS()LII)ATED LIST OF CREI)IT()RS HOLDING 25 LARGEST UNSECURED CLAIMS

Following is the consolidated list of the debtors’ creditors holding the 25 largest unsecured claims The list is
prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in these chapter 11 lar chapter 9] cases The information
contained in the list is based on the debtors’ hooks and records as of May 28, 2009. The list does not include (1) persons
who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the
collateral is such that the unsecured deficiency places the creditor among the holders of the 50 largest unsecured claims If a
minor child is one of the creditors holding the 50 largest unsecured claims, state the child's initials and the name and
address of the child’s parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child‘s
name See ll U.S.C. § 1123 Fed. R. Bankr. P. 1007(m).

 

(1)

Name ofcreditor and complete
mailing address including zip
code

(Z)

Name, telephone number and complete
mailing address including zip code of
employee agent or department of creditor
familiar with claim who may be contacted

thtztre afc!az`m meade

(3)

debt bank loan.

government contract

etc.)

(4)

ladicate z`fc!az`m is
contingent
unliquidated
disputed or Subject

to setoff

(5)

Amotmt ofclaz`m [z_'f
aecured, also state
value afsecurz`ty]

 

PR()CESS AMERICA

KIM RICKETTS

CRA,IG RICHARDS
KEITH PthI

21617 NORDHOPF ST
CHATSWORTH, CA 91311

Trade Debt

$2,807,231

 

PAYMENTECH

CHR.I,STOPHER BUTTS
CHASE PAYMENTECH
SOLUTIONS, LhC

PO BOX 809001
DALLAS, TX 75380-9001

Trade Debt

s2,629,783

 

TSYS

KRISTI PENN!NGTON
8320 S. HARDY DRIVE
TEMPE, AZ 8528»4

Trade Debt

$1,460,140

 

WWWMYGRANTSlTENET
877495 l 145

JEREMY JOHNSON
249 E TABERNACLE ST
GEORGE, UT 84770

Trade Debt

31,377,254

 

SECOND SOURCE

CUSTO'MER SERVICE
55 BROAD ST, ZND FL
NEW Y()RK, NY 10004

Trade Debt

31,057,199

 

DJM*LIFSTYLEFIT.COM

 

 

RYAN RIDDLE
1285 BARING BLVD, STE 506
SPARKS, NV 89434

 

Trade Debt

 

 

$900,764

 

#11435678 vl

 

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GEORGE, UT 84770

 

 

 

WWW FEDGRANTUSA RYAN RIDDLE Trade Debt $812,629
COM 1285 BARING BLVD, STE 506
SPARKS, NV 89434
MERCHANT PROCESSING VLADIMIR SADOVSKIY Trade Debt $756,'782
SERVlCES, CORP 132 W 36TH ST, 3RD FLOOR
NEW `YORK, NY 10018
PIVOTAL PAYMENTS MERCHANT SUPPORT Trade Debt $509,068
200 BROAD HOLLOW ROAD
SUITE 207
SYOSSET, NY 11747
FAST TRANSACT DAVID B. SOLGMON Trade Debt 5503,1 10
LISA R.IVERA
673 WOODLAND SQUARE LOC)P
SE, SUITE 401
LACEY, WA 98503
BUSINESSFUND 8004101682 JEREMY JOHNSON Trade Debt $493,692
249 E TABERNACLE ST
GEORGE, UT 84770
SignaPay JOHN R MARTILLO Trade Debt 3465,507
105 DECKER CT 650
IRVING, TX 75062
NATION WIDE HOME MORR!S LlNEER Trade Debt $415,585
WARR,ANTY 2711 CONEY ISLAND AVENUE
ZND FLOOR
BROOKLYN, NY 11235
US ONhINE AMER!CA LANCE TYRNER Trade cht $400,135
GROUP 404 W BROADWAY RD STE 107
TEMPE, AZ 85282
VACATION CLUBS DARYL TURNER Trade Debt $397,924
926 HADDONF[EhD RD # 356
CHERRY HILL, NJ 8002
EPAY DATA MICHAEL DINNEN Trade Debt $382,829
3025 S PARKER RD, SUITE 610
AURORA, CO 80014
` DEBIT TECHNOhOGIES, RANDALL VESELKA Trade Debt 5382,263
INC KATHY WATSON
700 CORPORATE CIR, SUITE E
GOLDEN, CO 80401
QUICKGRANTPR086637072 JEREMY JOHNSGN Trade Debt $319,347
70 249 E TABERNACLE ST

 

#11¢135678v1

 

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NETWORKAGENDACOM DUANE FI,ELDING Trade Debt $315,277
8004189320 249 EAST TABERNACLE, STE 105
ST GEORGE, UT 84770

 

CAL NUTRASCIENCES INC PAUL GRARETTE Trade Debt $292,513
1905 ASTON AVE, STE 101
CARLSBAD, CA 92008

 

l FORTUITY TIMOTHY WOODS Trade Debt 3266,347
2510 W DUNLAP AVE, STE 440
PHOENIX , AZ 85021

 

GRAVITY PAYMENTS LUCAS PRICE Trade Debt 3263,702
1434 ELLIOTT AVE W, SUITE C
SEATTL,E, WA 981 19

 

TRlBUL MERCHANT CLIENT SERV!CES Trade Debt $263,543
SERVICES 55 BROAD ST, ZND FLOOR
NEW YORK, NY 1000/1

 

WORLD VENTURES MICHAEL AZCUE Trade Debt $260,000
5360»1 LEGACY DR,IVE, STE 300
PLANO, TX 75093

 

VCOMM STEVEN HENRIKSEN Trade Debt 3255,858
4780 W ANN RD, 5 STE 2261\1 LAS
VEGAS, NV 89031

 

 

 

 

 

 

 

#11435673 vl 3

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

ln re: Chapter 11
CYNERGY DATA, LLC, Case No. 09- ( )

Debtor.

 

 

 

CERTIFICATION C()NCERNING CREI)ITOR MATRIX

Cynergy Data, LLC, as debtor and debtor-in-possession (the “Debtor”), hereby certifies

 

under penalty of perjury that the Crea'itor Matrix as maintained by Kurtzman Carson Consultants
LLC, pursuant to Local Rule 1007-2 of the Local Rules of Bankruptcy Practioe and Procedure of
the United States Bankruptcy Court for the District of Delaware, is complete and, to the best of
Debtor’s knowledge, correct and consistent with Debtor’s books and records

The information contained therein is based upon a review of Debtor’s books and records
However, no comprehensive legal and/or factual investigations with regard to possible defenses
to any claims set forth in the Crea'itor Matrix have been completed Therefore, the listing does
not and should not be deemed to constitute: (1) a waiver of any defense to any listed claims;
(2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any other

right, defense or legal position of the Debtor.

12679473.3

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l declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information and belief.

Executed this 3/ day of August, 2009

Siygnature: %~_//V//`¢`

Charles M Moore
Title: Chief Restructuring Ofticer

12679473.3 2

 

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IN 'I`HE UNI'I`ED STATES BANKRUPTCY COURT
FOR 'I`HE DISTRICT OF DELAWARE

 

ln rec Chapter ll
CYNERGY DATA, LLC, Case No. 09»M( )

Debtor.

 

 

LlST OF E UITY SECURITY HOLDERS OF DEBTOR
Cynergy Data, LLC (“Cynergy Data”), debtor and debtor-in-possession in the above~

captioned ease (the “Debtor”), hereby files its List of Equity Security Holders, pursuant to Rule

 

1007(a)(3) of the Federal Rules of Bankruptcy Procedure.

Comnlon Stock:

The holders of common stock of Cynergy Data are as follows:

 
   

NCynergy Data Holdlngs, Inc. ii 950

l2636\69.3

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CERTIFICATION CONCERNING LIST OF EOUITY SECURITY HOLDERS

I, Charles M. Moore, the Chief Restructuring Ot`iicer of the Debtors, hereby certify under
penalty of perjury that the information submitted herewith, pursuant to Local Rule lOO7-l(a) of
the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
the District of Delaware, is complete and, to the best of the Debtor’s knowledge, correct and

consistent with the Debtor’s books and records

nme August _§’_L, 2009 %/M

Name: Charles M. Moore
Title: Chiet` Restructuring Ofticer

 

l2636l69.3

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IN 'I`HE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRIC'I` OF DELAWARE

 

in re: Chapter ll
CYNERGY DATA, LLC, er az.,‘ case NQ. 09~ ( )
Debtors. lointly Administered

 

 

CERTIFICATION ()F RESOLUTIONS

l, Marcelo Paladini, the undersigned Chief Executive Officer and member of the Board of
Managers (the “§QJA”) of Cynergy Data, LLC (the “Company”`), a limited liability company
organized under the laws of the State of Delaware, do hereby certify that the following is a true
and correct copy ot` the resolutions adopted by the Company on July 20, 2009, and that the said
resolutions have not been modified or rescinded and are still in full force and effect on the date

hereof :

WHEREAS, after due consideration, the Board believes it is desirable
and in the best interest of the Company, its`direct and indirect
subsidiaries, its creditors, members, and other interested parties> that a
voluntary petition be filed by the Cornpany seeking relief under the
provisions of Chapter ll of Title ll, United States Code (the

“Bankruptcy Case”), ll U.S.C. §§l()l emt §_eg. (the “Bankruptcy Code”); it
is hereby

RES()LVED, that the Chief Executive Officer, and any and all other
officers of the Company otherwise authorized by the Board, including
Charles M. Moore of Conway MacKenzie, lnc., the Cornpany’s Chief
Restructuring Ofiicer, be, and each of them hereby are, authorized

 

‘ The Debtors are the following entities (with the last four digits of their federal tax identification numbers in

parentheses): Cynergy Data, LLC (8677); Cynergy Data Holdings, Inc. (82()8); Cynerg,y Prospcrity Plus, LLC
(4265), The mailing address for the Debtors is 30~30 47th Avenue, 9th Floor, hong Island City, New york
l l 101.

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and empowered on behalf of and in the name of the Company, to execute
and verify such petitions under the Bankruptcy Code and to cause the
same to be filed with the United States Bankruptcy Court for the District
of Delaware at such time as the members or managers executing the
petitions on behalf of the Company shall determine and it is further

RESOLVED, that any and all of the officers of the Company, and
Charles D, Moore of Conway MacKenzie, lnc., the Company’s Chief
Restructuring Officer, bet and each of them hereby arer authorized, on
behalfof and in the name of the Company. to execute and tile all
petitions schedules lists and other papers and to take any and all actions
which they may deem necessary or proper in the Company`s Bankruptcy
Case; and it is further

RESOLVED, that any and all ofthe officers of the Cornpany. including
Charles D. Moore ofConway l\/lacKenzie, lnc., the Company’s Chief
Restructuring ()fficer, be, and each of them hereby are, authorized and
directed on behalf of and in the name of the Company, to retain the law
firms ofl\iixon Peabody LLP and Pepper Hamilton LLP as bankruptcy
and Restructuring counsel to the Company; and it is further

RESOLVED, that the officers on behalf of the Company. Charles D.
Moore of Conway MacKcnzie, lnc., the Cornpany`s Chief Restructuring
Ot`iicer, be, and each ofthem hereby are authorized and empowered on
behalf of and in the name ot`the Company. to retain and employ any
other attorneys investment bankers accountants restructuring
professionals financial advisors and other professionals to assist the
Company`s Banl<.ruptcy C asc on such terms as are deemed necessary,
proper or desirable; and it is further

RES()LVED, that any or all of the officers of the Company, Charles D.
Moore of Conway MacKcnzie, lnc., the Cornpany`s Chiet` Rcstnicturing
Officer, each of them acting individually designated by or directed by
any such officers be, and each of them hereby are respectively authorized
and empowered to cause the Company as such officers deemed
appropriate to enter into, execute deliver, certify. file. record and/or
perform, such agreements instruments motions, affidavits applications
for approvals or ruling of governmental or regulatory authorities
certificates and other such documents and take any such actions as are. in
their judgment, necessary~ proper or desirable to prosecute this
Banl<ruptcy C asc and to carry out and put into effect the purposes of the
foregoing resolutions and the transactions contemplated by these
resolutions their authority thereunto to be evidenced by the taking of
such actions; and it is further

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RES()LVED, that any and all past actions heretofore taken by officers of
the Company, and the Board, in the name of an on behalf of the
Company, in furtherance of any or all of the preceding resolutions be, and
the same hereby are, ratified, approved and adopted

IN witness Wnsnsor, 1 have hamlin 5a my hands mi»’{Q day afiuiy, 2009.

Cynergy Data, LLC

 

Chief xecutive GFficer

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